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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-00337-WJM-KMT

  CHRISTOPHER P. SWEENEY, and
  NIKOLE M. SWEENEY,

  Plaintiffs,

  vs.

  CITY OF COLORADO SPRINGS, COLORADO,
  STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC., and
  DIVERSIFIED PROPERTY MANAGEMENT, LLC,

  Defendants.
  _______________________________________________________________________________

       PLAINTIFFS AND DEFENDANTS STETSON HILLS MASTER HOME OWNERS
     ASSOCIATION, INC. AND DIVERSIFIED PROPERTY MANAGEMENT, LLC’S JOINT
      STIPULATION REGARDING PROPOSED AMENDMENTS TO COMPLAINT AND
                  EXTENSION OF TIME TO FILE MOTION TO DISMISS
  _______________________________________________________________________________

          Plaintiffs, Christopher P. Sweeney and Nikole M. Sweeney, and Defendants, Stetson

  Hills Master Home Owners Association, Inc. and Diversified Property Management, LLC, by

  and through their respective attorneys, hereby submit their Joint Stipulation Regarding Proposed

  Amended Complaint and Extension of Time to File Motion to Dismiss, and state as follows:

          1.     On March 8, 2018, Defendants Stetson Hills Master Home Owners Association,

  Inc. and Diversified Property Management, LLC (“Defendants”) filed a motion to dismiss for

  failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6). [Doc 15].

          2.     Prior to filing this motion, Defendants failed to confer with counsel for Plaintiffs

  as required by and Judge Martinez’s Revised Practice Standards.
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          3.      In light of Defendants failure to confer, this Court entered an order striking

  Defendants’ motion to dismiss without prejudice. [Doc. 19].

          4.      In this order, the Court also instructed the parties to comply with Judge Martinez’s

  Revised Practice Standards, specifically, section III.D.1. [Doc. 19]

          5.      Since this order was entered, Defendants’ have conferred with counsel for Plaintiffs

  and have sought to determine whether the deficiencies highlighted in their motion to dismiss can be

  corrected by amendment.

          6.      During the process of conferring, Plaintiffs’ counsel has indicated that his clients

  intend to file an Amended Complaint on or before March 29, 2018 (twenty-one days after

  Defendants’ filed their motion to dismiss).

          7.      While Plaintiffs’ counsel has indicated that he believes the Amended Complaint

  will address some of the concerns raised in the Defendants’ motion to dismiss, he acknowledges

  that it will likely not resolve all of the issues raised by Defendants.

          8.      As such, the parties agree that at least some of the issues raised in the motion to

  dismiss are legal issues for the court, rather than factual issues, and that Defendants will likely still

  be filing a motion to dismiss after the Plaintiffs file their Amended Complaint.

          9.      In an effort to comply with Judge Martinez’s Revised Practice Standards, the parties

  are willing to stipulate that the Defendants’ responsive pleading and/or motion to dismiss will not

  be due until fourteen (14) after service of the Plaintiffs’ Amended Complaint.

          WHEREFORE, Plaintiffs and Defendants Stetson Hills Master Home Owners

  Association, Inc. and Diversified Property Management, LLC respectfully request that this Court

  enter an order extending the time for Defendants to respond to Plaintiffs’ Complaint up to and


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  including fourteen (14) days after the Plaintiffs file their Amended Complaint.

            Respectfully submitted, this 13th day of March, 2018.


  /s/ Julian G.G. Wolfson                                     s/ Karen H. Wheeler
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  Attorney for Plaintiffs                                     Attorneys for Defendants Stetson
                                                              Hills Master Home Owners
                                                              Association, Inc. and Diversified
                                                              Property Management, LLC




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                               FOR THE DISTRICT OF COLORADO

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  CHRISTOPHER P. SWEENEY, and
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  DIVERSIFIED PROPERTY MANAGEMENT, LLC,

  Defendants.
  _______________________________________________________________________________

                            CERTIFICATE OF SERVICE
  _______________________________________________________________________________

          I hereby certify that on March 13, 2018, I electronically filed the foregoing PLAINTIFFS

  AND DEFENDANTS STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC.

  AND      DIVERSIFIED       PROPERTY       MANAGEMENT,            LLC’S    JOINT     STIPULATION

  REGARDING PROPOSED AMENDMENTS TO COMPLAINT AND EXTENSION OF TIME

  TO FILE MOTION TO DISMISS with the Clerk of Court for filing and uploading to the CM/ECF

  system which will send notification of such filing to the following e-mail addresses:


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                                                     s/ Karen H. Wheeler
                                                     Karen H. Wheeler




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